               Case 2:11-cr-00454-JAM Document 50 Filed 07/06/12 Page 1 of 3


     JOHN R. MANNING (SBN 220874)
 1   ATTORNEY AT LAW
 2
     1111 H Street, # 204
     Sacramento, CA. 95814
 3   (916) 444-3994
     Fax (916) 447-0931
 4

 5
     Attorney for Defendant
     JOSEPH ANDRADE
 6
                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                       )       No. CR-S-11-454 GEB
 9
                                                     )
                                                     )
10          Plaintiff,                               )       STIPULATION AND
                                                     )       [PROPOSED ORDER] CONTINUING
11
     v.                                              )       STATUS CONFERENCE
                                                     )
12
     JOSEPH ANDRADE and                              )
                                                     )       Date: September 7, 2012
13   JONATHAN SHERMAN,                               )       Time: 9:00 a.m.
                                                     )       Judge: Honorable Garland E. Burrell, Jr.
14
            Defendants.                              )
                                                     )
15
                                                     )
16

17
            IT IS HEREBY stipulated between the United States of America through its undersigned

18
     counsel, Jill M. Thomas, Assistant United States Attorney, together with counsel for defendant

19
     Jonathan Sherman, Shari Rusk, Esq., and counsel for defendant Joseph Andrade, John R.

20
     Manning, Esq., that the status conference presently set for July 6, 2012, be continued to

21
     September 7, 2012, at 9:00 a.m., thus vacating the presently set status conference.

22
            Further, all of the parties, the United States of America and the defendants as stated

23
     above, hereby agree and stipulate that the ends of justice served by the granting of such a

24
     continuance outweigh the best interests of the public and the defendants in a speedy trial and that

25
     time under the Speedy Trial Act should therefore be excluded under Title 18, United States Code

26
     Section 3161(h)(7)(A) and (B)(ii) and (iv) and Local Code T-4 (to allow defense counsel time to

27
     prepare) from the date of the parties stipulation, July 5 2012, to and including September 7,

28




                                                         1
               Case 2:11-cr-00454-JAM Document 50 Filed 07/06/12 Page 2 of 3



 1   2012. Currently the discovery in this case includes 2,962 pages, 14 video DVDs, and 1 audio
 2   CD. The defense requests more time to review the discovery and conduct investigation.
 3   IT IS SO STIPULATED.
 4
     Dated: July 5, 2012                                             /s/ Shari Rusk
 5                                                                  SHARI RUSK
                                                                    Attorney for Defendant
 6                                                                  Jonathan Sherman
 7
     Dated: July 5, 2012                                             /s/ John R. Manning
 8                                                                  JOHN R. MANNING
                                                                    Attorney for Defendant
 9                                                                  Joseph Andrade
10
     Dated: July 5, 2012                                            Benjamin B. Wagner
11                                                                  United States Attorney
12                                                          by:     /s/ Jill M. Thomas
13
                                                                    JILL M. THOMAS
                                                                    Assistant U.S. Attorney
14
                                                   ORDER
15
            The Court, having received, read, and considered the stipulation of the parties, and good
16
     cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. Based
17
     on the stipulation of the parties and the recitation of facts contained therein, the Court finds that
18
     it is unreasonable to expect adequate preparation for pretrial proceedings and trial itself within
19
     the time limits established in 18 U.S.C. § 3161. In addition, the Court specifically finds that the
20
     failure to grant a continuance in this case would deny defense counsel to this stipulation
21
     reasonable time necessary for effective preparation, taking into account the exercise of due
22
     diligence. The Court finds that the ends of justice to be served by granting the requested
23
     continuance outweigh the best interests of the public and the defendants in a speedy trial.
24
            The Court orders that the time from the date of the parties' stipulation, July 5, 2012, to
25
     and including September 7, 2012, shall be excluded from computation of time within which the
26
     trial of this case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. §
27
     3161(h)(7)(A) and (B)(ii) and (iv), and Local Codes T4 (reasonable time for defense counsel to
28




                                                       2
                           Case 2:11-cr-00454-JAM Document 50 Filed 07/06/12 Page 3 of 3



 1   prepare). It is further ordered that the July 6, 2012, status conference shall be continued until
 2   September 7, 2012, at 9:00 a.m.
 3
     IT IS SO ORDERED.
 4

 5   Date: 7/5/2012

 6                                                           _________________________
                                                             GARLAND E. BURRELL, JR.
 7                                                           United States District Judge
     DEAC_Signature-END:




 8
     61khh4bb
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                                         3
